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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE

UNITED STATES OF AMERICA                                                                 PLAINTIFF

vs.                                                                               3:18CR-176-DJH

KENNETH R. BETTS                                                                     DEFENDANT

                                      - Filed electronically -

MOTION FOR DISTRICT COURT TO STAY RELEASE ORDER PENDING
        DISPOSITION OF MOTION TO REVOKE RELEASE ORDER

       Comes the United States of America, by counsel, Jo E. Lawless, Assistant United States

Attorney for the Western District of Kentucky, and respectfully requests the District Court to

stay the anticipated release Order announced in open court on November 6, 2018, in the above-

referenced case until the Court has an opportunity to review and resolve the United States'

forthcoming motion to revoke said release order. The United States intends to file its motion to

revoke the release order by close of business on November 8, 2018.

                                     Memorandum in Support

       In United States v. Brigham, 569 F.3d 220, 230 (5 th Cir. 2009), that court noted

       [The defendant correctly argued] that§ 3145 does not expressly authorize a stay.
       Nevertheless, as previously discussed with regard to review of the dismissal order, given
       that the issue being reviewed involves a person's release from custody pending further
       legal proceedings, the absence of stay authority could render the district court's review
       power illusory. Specifically, if the district court disagrees with the magistrate judge's
       determination regarding release versus detention, but no stay is in place, the person in
       question may have harmed the community or disappeared by the time the district court's
       ruling is rendered and detention is ordered.

Brigham concerned a release order in the context of revoking a term of supervised release.

Nevertheless, the court went on to note that a number of district courts had recognized "stay"

power within the context of release in the area of pretrial detention. Id. (citations omitted).
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Moreover, the court noted that 18 U.S.C. "§ 3145(a) requires that review of a release order be

determined "promptly." Hence, persons such as Brigham are protected from prolonged interim

detention if a release order is later upheld by the reviewing district court." Id.

       Certainly, the District Court has the authority to stay a release order. The United States

respectfully requests the District Court exercise its authority to do so in this case until a review

of the motion to revoke can be fully considered.

                                               Respectfully submitted,

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                                        Certificate of Service

         I hereby certify that a copy of the foregoing was sent by electronic transmission (i.e.,
e:mail' due to the unavailability of ECF), to defense counsel on November 7, 2018.


                                               Jo . Lawless
                                               Assistant United States Attorney




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